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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                    Plaintiff,            )                 4:08CR3148-8
                                          )
             V.                           )
                                          )
ANGEL M. KOSKI,                           )                     ORDER
                                          )
                    Defendant.            )

      The undersigned received the attached evaluation in the mail. Accordingly,

       IT IS ORDERED that the Clerk shall file the attached evaluation under seal and
provide a copy only to Defendant Koski’s lawyer, government’s counsel, and the probation
officer.

DATED this 22nd day of October, 2009.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         United States District Judge
